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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY    pG,
                                                           q1:
                                                              .   I
                                                                      2 2c
                               COVINGTON DIVISION
                                                                             337
JOHN CRANTFORD,

             Plaintiff,              1     TRIAL BY JURY DEMANDED

      -vs-                           )     CASENO.:     06- 2
NORFOLK SOUTHERN RAILWAY             )
COMPANY, a corporation,

THE CINCINNATI, NEW ORLEANS          )
AND TEXAS PACIFIC RAILWAY
COMPANY, a corporation,              )
                                     1
GUESS FREIGHTWAYS, INC.              )
a corporation,
                                     )
WILLEY FREIGHT WAYS, INC.
a corporation,                       1
GUESS TRANSPORT, INC.
a corporation, and

PAMELA HOWELL,
individually,                        )

             Defendants.             )


                           COMPLAINT FOR DAMAGES

      The plaintiff, JOHN CRANTFORD, by and through his attorneys, Harrington,

Thompson, Acker & Harrington, Ltd., complaining of defendants, NORFOLK SOUTHERN

RAILWAY COMPANY, THE CINCINNATI, NEW ORLEANS AND TEXAS PACIFIC

RAILWAY COMPANY, GUESS FREIGHTWAYS, INC., WILLEY FREIGHT WAYS, INC.,

GUESS TRANSPORT, INC., and PAMELA HOWELL, states:
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                      ALLEGATIONS COMMON TO ALL COUNTS

       1.     The defendant parties named in this cause by plaintiffs are joined under

authority of Federal Rule of Civil Procedure 20(A), asserting against them jointly, severally,

or in the alternative, a right to relief in respect of and arising out of the same occurrence

which involve questions of law and fact common to all named defendants.

       2.     This cause arises out of an accident and injuries sustained therein to plaintiff

JOHN CRANTFORD on December 1, 2005 at a grade crossing located at or near 300

Shoreland Drive South in Walton, Kentucky when a collision occurred between a freight

train and a semi tractor trailer.

       3.     At said time and place, plaintiff JOHN CRANTFORD was the conductor of

a freight train that was approaching a grade crossing and was traveling in a generally

eastward direction. In furtherance of his duties, plaintiff JOHN CRANTFORD was riding on

the point of the lead railroad car of the train consist.

       4.     At or near the same time and place, a semi tractor trailer being operated by

defendant PAMELA HOWELL was traveling in a generally southward direction toward the

railroad crossing. The semi tractor-trailer failed to stop before entering the grade crossing

and collided with the freight train. As a result of said collision, plaintiff JOHN CRANTFORD

was caused to be injured.
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                               COUNT I
        JOHN CRANTFORD vs. NORFOLK SOUTHERN RAILWAY COMPANY

       1-4.   As paragraphs 1-4 of Count I, plaintiff JOHN CRANTFORD adopts and

reasserts the allegations of paragraphs 1-4 of ALLEGATIONS COMMON TO ALL

COUNTS as if fully set forth herein. This Count is pled in the alternative pursuant to

Federal Rule of Civil Procedure 8.

       5.      Jurisdiction of this Court is invoked as to plaintiff JOHN CRANTFORD and

defendant NORFOLK SOUTHERN RAILWAY COMPANY, hereinafter"NORFOLK, under

45 U.S.C. §56 and 28 U.S.C. S1331.

       6.      Defendant NORFOLK is a corporation engaged in operating a railroad as a

common carrier engaged in interstate commerce between the various states of the United

States, including the Eastern District of Kentucky, and is subject to service of process and

to the jurisdiction of this Court.

       7.      At the time and place alleged herein, plaintiff JOHN CRANTFORD was

employed by defendant NORFOLK as a conductor, and his duties as such were in

furtherance of interstate commerce for said defendant. At said time, both plaintiff JOHN

CRANTFORD and defendant NORFOLK were subject to the Act of Congress known as

the Federal Employers' Liability Act, 45 U.S.C. $51 et seq.

       8.      Plaintiff JOHN CRANTFORD was acting at all times alleged herein within the

scope of his employment and in furtherance of said railroad defendant's business, and it

was defendant NORFOLK'Sduty to plaintiff to exercise ordinary care to furnish plaintiff with

a reasonably safe place in which to work.

       9.      Defendant NORFOLK, notwithstanding its' duties to plaintiff JOHN

CRANTFORD, was careless and negligent in one or more of the following particulars, and
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thereby contributed to cause injuries to plaintiff JOHN CRANTFORD:

              a.     In failing to exercise ordinary care to furnish plaintiff with a reasonably
                     safe place in which to work.

       10.    Plaintiff sustained personal injuries, disability, pain and suffering, medical

expenses, wage losses and other recoverable damages supported by the evidence and

permitted by law resulting in whole or in part from the careless and negligent acts and

omissions of defendant NORFOLK.

       WHEREFORE, plaintiff JOHN CRANTFORDpraysforjudgment of damages against

defendant NORFOLKSOUTHERN RAILWAY COMPANY in an amount sufficient to satisfy

the jurisdictional limitations of this court, plus whatever additional amount the court and the

jury shall deem proper as compensatory damages, plus the costs of this lawsuit and other

recoverable damages permitted by law.



                             COUNT II
 JOHN CRANTFORD vs. THE CINCINNATI, NEW ORLEANS AND TEXAS PACIFIC
                        RAILWAY COMPANY


       1-4.   As paragraphs 1-4 of Count II, plaintiff JOHN CRANTFORD adopts and

reasserts the allegations of paragraphs 1-4 of ALLEGATIONS COMMON TO ALL

COUNTS as if fully set forth herein. This Count is pled in the alternative pursuant to

Federal Rule of Civil Procedure 8.

       5.     Jurisdiction of this Court is invoked as to plaintiff JOHN CRANTFORD and

defendant THE CINCINNATI, NEW ORLEANS AND TEXAS PACIFIC RAILWAY

COMPANY, hereinafter “CNO&TP”, under 45 U.S.C. §56 and 28 U.S.C. 91331.

       6.     Defendant CNO&TP is a corporation engaged in operating a railroad as a
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common carrier engaged in interstate commerce between the various states of the United

States, including the Eastern District of Kentucky, and is subject to service of process and

to the jurisdiction of this Court.

       7.      At the time and place alleged herein, plaintiff JOHN CRANTFORD was

employed by defendant CNO&TP as a conductor, and his duties as such were in

furtherance of interstate commerce for said defendant. At said time, both plaintiff JOHN

CRANTFORD and defendant CNO&TP were subject to the Act of Congress known as the

Federal Employers' Liability Act, 45 U.S.C. $51 et seq.

       8.      Plaintiff JOHN CRANTFORD was acting at all times alleged herein within the

scope of his employment and in furtherance of said railroad defendant's business, and it

was defendant CNO&TP's duty to plaintiff to exercise ordinary care to furnish plaintiff with

a reasonably safe place in which to work.

       9.      Defendant CNO&TP, notwithstanding its' duties to plaintiff JOHN

CRANTFORD, was careless and negligent in one or more of the following particulars, and

thereby contributed to cause injuries to plaintiff JOHN CRANTFORD:

               a.     In failing to exercise ordinary care to furnish plaintiff with a reasonably
                      safe place in which to work.

       10.     Plaintiff sustained personal injuries, disability, pain and suffering, medical

expenses, wage losses and other recoverable damages supported by the evidence and

permitted by law resulting in whole or in part from the careless and negligent acts and

omissions of defendant CNO&TP.

       WHEREFORE, plaintiff JOHN CRANTFORD praysforjudgment of damagesagainst

defendant THE CINCINNATI, NEW ORLEANS AND TEXAS PACIFIC RAILWAY

COMPANY in an amount sufficient to satisfy the jurisdictional limitations of this court, plus
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whatever additional amount the court and the jury shall deem proper as compensatory

damages, plus the costs of this lawsuit and other recoverable damages permitted by law.


                                 COUNT 111
                 JOHN CRANTFORD vs. GUESS FREIGHTWAYS, INC.
                            and PAMELA HOWELL

       1-4.   As paragraphs 1-4 of Count Ill, plaintiff JOHN CRANTFORD adopts and

reasserts the allegations of paragraphs 1-4 of ALLEGATIONS COMMON TO ALL

COUNTS as if fully set forth herein. This Count is pled in the alternative pursuant to

Federal Rule of Civil Procedure 8.

       5.      Defendant GUESS FREIGHTWAYS, INC. is incorporated in the State of

Indiana and does business in the State of Kentucky.

       6.      Defendant PAMELA HOWELL is a citizen and resident of the State of

Indiana.

       7.     At the time and place alleged in the Allegations Common to All Counts, the

aforesaid semi tractor trailer was owned by defendant GUESS FREIGHTWAYS, INC.

       8.     At the time and place alleged in the Allegations Common to All Counts,

defendant PAMELA HOWELL was an employee and/or agent of defendant GUESS

FREIGHTWAYS, INC. and was operating the semi tractor trailer in the course of her

employment.

       9.     Jurisdiction of this Court is invoked as to plaintiff JOHN CRANTFORD and

defendants GUESS FREIGHTWAYS, INC. and PAMELA HOWELL under Federal Rule

of Civil Procedure 20 and 28 U.S.C. 31 367. Supplemental jurisdiction over defendants

GUESS FREIGHTWAYS, INC. and PAMELA HOWELL is invoked as said claims are so

related to claims in this action which lie within the original jurisdiction of this Court so as to
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form part of the same case and controversy. Defendants GUESS FREIGHTWAYS, INC.

and PAMELA HOWELL are subject to the jurisdiction and service of process of this Court.

       10.    At the date and time alleged heretofore, the defendants, GUESS

FREIGHTWAYS, INC. and PAMELA HOWELL, were careless and negligent, with said

carelessness and negligence joining and combining to proximately cause the aforesaid

collision of the train and semi tractor trailer at said railroad grade crossing, in one or more

of the following particulars:

              a.     In failing to exercise ordinary care and caution in operating said
                     vehicle;

              b.      In failing to exercise ordinary care to keep a lookout for approaching
                      trains;

              c.      In failing to obey the stop sign that was posted at the railroad grade
                      crossing;

              d.      In failing to yield to the freight train that was approaching the railroad
                      grade crossing;

              e.      In driving or otherwise allowing said semi tractor trailer to traverse
                      across said grade crossing and into the path of an approaching train;

              f.      In failing to comply with Kentucky Revised Statute 189.290 which
                      requires an operator of vehicle to drive carefully;

              g.     In failing to comply with Kentucky Revised Statute 189.560(1)(c)
                     which requires that the operator of a vehicle shall stop and remain
                     standing at a railroad grade crossing when an approaching train is
                     visible and in hazardous proximity.

       11.    Plaintiff JOHN CRANTFORD sustained personal injuries, disability, pain and

suffering, medical expenses, wage losses and other recoverable damages supported by

the evidence and permitted by law which were proximately caused by the careless and

 negligent acts and omissions of defendants GUESS FREIGHTWAYS, INC. and PAMELA

 HOWELL.
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       WHEREFORE, plaintiffJOHN CRANTFORD prays for judgment of damages against

defendants GUESS FREIGHTWAYS, INC. and PAMELA HOWELL in an amount sufficient

to satisfy the jurisdictional limitations of this court, plus whatever additional amount the

court and the jury shall deem proper as compensatory damages, plus the costs of this

lawsuit and other recoverable damages permitted by law.

                                COUNT IV
               JOHN CRANTFORD vs. WILLEY FREIGHT WAYS, INC.
                          and PAMELA HOWELL


       1-4.   As paragraphs 1-4 of Count IV, plaintiff JOHN CRANTFORD adopts and

reasserts the allegations of paragraphs 1-4 of ALLEGATIONS COMMON TO ALL

COUNTS as if fully set forth herein. This Count is pled in the alternative pursuant to

Federal Rule of Civil Procedure 8.

       5.     Defendant WILLEY FREIGHT WAYS, INC. is incorporated in the State of

Indiana and does business in the State of Kentucky.

       6.     Defendant PAMELA HOWELL is a citizen and resident of the State of

Indiana.

       7.     At the time and place alleged in the Allegations Common to All Counts, the

aforesaid semi tractor trailer was owned by defendant WILLEY FREIGHT WAYS, INC.

       8.     At the time and place alleged in the Allegations Common to All Counts,

defendant PAMELA HOWELL was an employee and/or agent of defendant WILLEY

FREIGHT WAYS, INC. and was operating the semi tractor trailer in the course of her

employment.

       9.     Jurisdiction of this Court is invoked as to plaintiff JOHN CRANTFORD and

defendants WILLEY FREIGHT WAYS, INC. and PAMELA HOWELL under Federal Rule
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of Civil Procedure 20 and 28 U.S.C. § I 367. Supplemental jurisdiction over defendants

WILLEY FREIGHT WAYS, INC. and PAMELA HOWELL is invoked as said claims are so

related to claims in this action which lie within the original jurisdiction of this Court so as to

form part of the same case and controversy. Defendants WILLEY FREIGHT WAYS, INC.

and PAMELA HOWELL are subject to the jurisdiction and service of process of this Court.

       10.     At the date and time alleged heretofore, the defendants, WILLEY FREIGHT

WAYS, INC. and PAMELA HOWELL, were careless and negligent,with said carelessness

and negligence joining and combining to proximately cause the aforesaid collision of the

train and semi tractor trailer at said railroad grade crossing, in one or more of the following

particulars:

               a.     In failing to exercise ordinary care and caution in operating said
                      vehicle;

               b.     In failing to exercise ordinary care to keep a lookout for approaching
                      trains;

               C.     In failing to obey the stop sign that was posted at the railroad grade
                      crossing;

               d.     In failing to yield to the freight train that was approaching the railroad
                      grade crossing;

               e.     In driving or otherwise allowing said semi tractor trailer to traverse
                      across said grade crossing and into the path of an approaching train;

               f.     In failing to comply with Kentucky Revised Statute 189.290 which
                      requires an operator of vehicle to drive carefully;

                      In failing to comply with Kentucky Revised Statute 189.560(1)(c)
                      which requires that the operator of a vehicle shall stop and remain
                      standing at a railroad grade crossing when an approaching train is
                      visible and in hazardous proximity.

       11.     Plaintiff JOHN CRANTFORD sustained personal injuries, disability, pain and

suffering, medical expenses, wage losses and other recoverable damages supported by
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 the evidence and permitted by law which were proximately caused by the careless and

 negligent acts and omissions ofdefendants WILLEY FREIGHT WAYS, INC. and PAMELA

 HOWELL.

       WHEREFORE, plaintiffJOHN CRANTFORD praysforjudgment ofdamages against

 defendants WILLEY FREIGHT WAYS, INC. and PAMELA HOWELL in an amount

 sufficient to satisfy the jurisdictional limitations of this court, plus whatever additional

 amount the court and the jury shall deem proper as compensatory damages, plus the costs

 of this lawsuit and other recoverable damages permitted by law.

                                         COUNT V
                  JOHN CRANTFORD vs. GUESS TRANSPORT, INC.
                                  and PAMELA HOWELL


        1-4.   As paragraphs 1-4 of Count V, plaintiff JOHN CRANTFORD adopts and

 reasserts the allegations of paragraphs 1-4 of ALLEGATIONS COMMON TO ALL

 COUNTS as if fully set forth herein. This Count is pled in the alternative pursuant to

 Federal Rule of Civil Procedure 8.

        5.     Defendant GUESS TRANSPORT, INC. is incorporated in the State of Indiana

 and does business in the State of Kentucky.

        6.     Defendant PAMELA HOWELL is a citizen and resident of the State of

 Indiana.

        7.     At the time and place alleged in the Allegations Common to All Counts, the

 aforesaid semi tractor trailer was owned by defendant GUESS TRANSPORT, INC.

        8.     At the time and place alleged in the Allegations Common to All Counts,

 defendant PAMELA HOWELL was an employee and/or agent of defendant GUESS

 TRANSPORT, INC. and was operating the semi tractor trailer in the course of her
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 employment.

        9.      Jurisdiction of this Court is invoked as to plaintiff JOHN CRANTFORD and

 defendants GUESS TRANSPORT, INC. and PAMELA HOWELL under Federal Rule of

 Civil Procedure 20 and 28 U.S.C. 51367. Supplemental jurisdiction over defendants

 GUESS TRANSPORT, INC. and PAMELA HOWELL is invoked as said claims are so

 related to claims in this action which lie within the original jurisdiction of this Court so as to

 form part of the same case and controversy. Defendants GUESS TRANSPORT, INC. and

 PAMELA HOWELL are subject to the jurisdiction and service of process of this Court.

        10.    At the date and time alleged heretofore, the defendants, GUESS

 TRANSPORT, INC. and PAMELA HOWELL, were careless and negligent, with said

 carelessness and negligence joining and combining to proximately cause the aforesaid

 collision of the train and semi tractor trailer at said railroad grade crossing, in one or more

 of the following particulars:

                a.     In failing to exercise ordinary care and caution in operating said
                       vehicle;

                b.     In failing to exercise ordinary care to keep a lookout for approaching
                       trains;

                C.     In failing to obey the stop sign that was posted at the railroad grade
                       crossing;

                d.     In failing to yield to the freight train that was approaching the railroad
                       grade crossing;

                e.     In driving or otherwise allowing said semi tractor trailer to traverse
                       across said grade crossing and into the path of an approaching train;

                f.     In failing to comply with Kentucky Revised Statute 189.290 which
                       requires an operator of vehicle to drive carefully;

                g.     In failing to comply with Kentucky Revised Statute 189.560(1)(c)
                       which requires that the operator of a vehicle shall stop and remain
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                          standing at a railroad grade crossing when an approaching train is
                          visible and in hazardous proximity.

            11.    Plaintiff JOHN CRANTFORDsustained personal injuries, disability, pain and

     suffering, medical expenses, wage losses and other recoverable damages supported by

     the evidence and permitted by law which were proximately caused by the careless and

     negligent acts and omissions of defendants GUESS TRANSPORT, INC. and PAMELA

     HOWELL.

           WHEREFORE, plaintiffJOHN CRANTFORD prays forjudgment of damages against

     defendants GUESS TRANSPORT, INC. and PAMELA HOWELL in an amount sufficient

     to satisfy the jurisdictional limitations of this court, plus whatever additional amount the

     court and the jury shall deem proper as compensatory damages, plus the costs of this

     lawsuit and other recoverable damages permitted by law.

                                               Respectfully submitted,   1                A




                                                                          "          "
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